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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

UNITED STATES OF AMERICA and
BARBARA BERNIER,

                     Plaintiffs,

v.                                                     Case No: 6:16-cv-970-Orl-37TBS

INFILAW CORPORATION and
CHARLOTTE SCHOOL OF LAW, LLC,

                     Defendants.


                          ORDER ON INTERESTED PERSONS
                           AND CORPORATE DISCLOSURE

       This Court makes an active effort to review each case in order to identify parties

and interested corporations in which the assigned District Judge or Magistrate judge may

have an interest, as well as for other matters that might require consideration of recusal.

       It is therefore ORDERED that, within fourteen days from the day of this Order or,

if a party joins this action subsequent to the entry of this Order, from the date of a party’s

first appearance, each party, pro se party, governmental party, intervenor, non-party

movant, and Rule 69 garnishee shall file and serve a “Certificate of Interested Persons

and Corporate Disclosure Statement” substantially in the form attached.

       It is FURTHER ORDERED that no party may seek discovery from any source

before filing and serving a Certificate of Interested Persons and Corporate Disclosure

Statement. A motion, memorandum, response, or other paper – including emergency

motions – may be denied or stricken unless the filing party has previously filed and served

a Certificate of Interested Persons and Corporate Disclosure Statement.

       It is FURTHER ORDERED that each party has a continuing obligation to file and
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serve an amended Certificate of Interested Persons and Corporate Disclosure Statement

within fourteen days of discovering any ground for amendment, for conflict of interest, for

recusal, or for disqualification of the judicial officer.

       It is FURTHER ORDERED that, in order to assist the Court in determining when a

conflict of interest may exist, each party shall use the full caption of this case, including

the names of all parties and intervenors, on all motions, memoranda, papers, and

proposed orders submitted to the Clerk. See Fed. R. Civ. P. 10 (a); Local Rule 1.05(b).

       DONE AND ORDERED at Orlando, Florida this 25th day of September, 2017.

                                             ROY B. DALTON, JR.
                                             United States District Judge


                                             By:            /s/ Virginia Flick
                                                              Deputy Clerk


Copies to:     Counsel of Record
               Pro Se Parties




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                                      UNITED STATES DISTRICT COURT
                                       MIDDLE DISTRICT OF FLORIDA
                                            ORLANDO DIVISION

 [Insert Caption of Case]
                                    CERTIFICATE OF INTERESTED PERSONS
                                   AND CORPORATE DISCLOSURE STATEMENT

        I hereby disclose the following pursuant to this Court’s Interested Persons Order and
 Corporate Disclosure:

        1. The name of each person, attorney, association of persons, firm, law firm, partnership,
           and corporation that has or may have an interest in a party to this action or in the
           outcome of this action, including subsidiaries, conglomerates, affiliates, parent
           corporations, publicly-traded companies that own 10% or more of a party’s stock, and
           all other identifiable legal entities related to any party in the case:

                            [insert list]1

        2. The name of every other entity whose publicly-traded stock, equity, or debt may be
           substantially affected by the outcome of the proceedings:

                            [insert list]

        3. The name of every other entity which is likely to be an active participant in the
           proceedings, including the debtor and members of the creditors’ committee (or if no
           creditors’ committee the 20 largest unsecured creditors):

                            [insert list]

        4. The name of each victim (individual or corporate), including every person who may be
           entitled to restitution:

                            [insert list]

        5.       Check one of the following:

                 I certify that I am unaware of any actual or potential conflict of interest involving
 the District Judge and Magistrate Judge assigned to this case, and will immediately notify the
 Court in writing upon learning of any such conflict.

 -or-

               I certify that I am aware of a conflict or basis of recusal of the District Judge or
 Magistrate Judge as follows:

                            [insert explanation]



             1
         A party should not routinely list the assigned District Judge or Magistrate Judge as an “interested
person” absent some non-judicial interest.




                                                     3
